Case 2:03-CV-02044-BBD-STA Document 93 Filed 08/24/05 Page 1 of 2 Page|D 70
IN THE UNITED STATES DISTRICT COURT

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ASAD EL-AMIN MUJIHADEEN,
Plaintiff,
vs. No. 03-2044-D/An

TENNESSEE BOARD OF PROBATION
AND PAROLES, et al.,

Defendants.

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ORDER DENYING IRREGULAR MOTION

 

On April 5, 2005, plaintiff filed a motion seeking leave
to commence discovery. Leave of court is not required to conduct
discovery, and the defendants' subsequent motion for an enlargement
of time, which was filed on June 13, 2005, makes clear that the
plaintiff has served the defendants with discovery requests.
Accordingly, the plaintiff's motion is DENIED as moot.

IT IS SO ORDERED this 359 day Of August, 2005.

 

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This notice confirms a copy of the document docketed as number 93 in
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Honorable Bernice Donald
US DISTRICT COURT

